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PROB 12
(Rev. 11/04)

   

United States District Court
for

CENTRAL DISTRICT OF CALIFORNIA ath EL DISTRICT OF ae

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U.S.A. VS. RONALD DANIELS It Docket No. CRUG. 01220- SVW
Petition on Probation and Supervised Release (Modification)

COMES NOW MICHELLE A. CAREY, CHIEF PROBATION OFFICER OF THE COURT, presenting an official
report upon the conduct and attitude of RONALD DANIELS III who was placed on supervision by the Honorable STEPHEN
V. WILSON sitting in the Court at Los Angeles, California, on the 24th day of September, 2001 who fixed the period of
supervision at three years and imposed the general terms and conditions theretofore adopted by the Court and also imposed
special terms and conditions as noted on the attached Judgment and Commitment Order(s).

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

Initially, Ronald Daniels III appeared to be making a favorable adjustment to supervision. He completed a employment
preparation program, tested negative for controlled substances and secured gainful employment. However, on March 24,
2013, the offender used alcohol, as evidenced by analysis of his breath (Blood Alcohol Content of .32). In response, Mr.
Daniels was admonished and instructed to attend support group meetings. However, on or before June 6, 2013, Mr. Daniels
used cocaine and admitted he had not attended any support group meetings, as instructed by the probation officer.

Mr. Daniels is in need of the Court’s intervention. The supervise and defense counsel consent to modification and waive
a personal appearance before the Court.

PRAYING THAT THE COURT WILL ORDER Ronald Daniels II], as a special condition of supervised release, shall
participate for a period not to exceed 90 days in a home detention program component of the Location Monitoring Program,
which may include electronic monitoring, GPS, Alcohol Monitoring Unit or automated identification system; the
defendant shall observe all rules of such program, as directed by the Probation Officer; the defendant shall maintain a
residential telephone line without devices and/or services that may interrupt operation of the monitoring equipment; the
defendant shall pay the costs of Location Monitoring to the contract vendor, not to exceed the sum of $12.00 for each day
of participation; the defendant shall provide payment and proof of paymentas instructed; and the defendant shall be placed
on a location monitoring schedule which would allow him to maintain his employment, which is as many as 72 hours per
week, Monday through Saturday.

ORDER OF COURT Respectfully, cL
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Considered and ordered this day AUSTIN

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United States District Judge Supervising U.S. Probation Officer
STEPHEN V. WILSON

Date: June 20, 2013
